Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 1 of 9 PageID 2438




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION

     UNITED STATES OF AMERICA

     v.                                                               Case No. 3:15-cr-70-J-34MCR

     MICHAEL ROUNSVILLE
     ________________________________

                                                   ORDER

             THIS CAUSE is before the Court on Defendant’s Motion for New Trial (Doc. No.

     335; Motion), filed on November 28, 2016. Following a four day jury trial, on November

     14, 2016, the jury returned a verdict finding Defendant Michael Rounsville (Rounsville)

     guilty as to Count Two of the Indictment (Doc. No. 1; Indictment). See Verdict Form (Doc.

     No. 317; Verdict). Specifically, the jury found Rounsville guilty of intentionally accessing

     a law enforcement computer database without authorization or in excess of authorization,

     in violation of 18 U.S.C. § 1030(a)(2)(B), and that he did so for purposes of private

     financial gain and in furtherance of a criminal or tortious act, in violation of 18 U.S.C. §

     1030(c)(2)(B). See id.; see also Indictment. In the Motion, Rounsville requests that the

     Court grant him a new trial pursuant to Rule 33 of the Federal Rules of Criminal Procedure

     (Rule(s)).1 See Motion at 1. The Government filed a response in opposition to the Motion,

     see United States’ Response to Defendant’s Motion for New Trial (Doc. No. 348;

     Response), on December 19, 2016. Accordingly, this matter is ripe for review.




     1
             In the Motion, Rounsville inadvertently references Federal Rule of Evidence 33. See Motion at 1.
     Because motions for new trial in the criminal context are governed by the corresponding Rule, the Court will
     construe the Motion accordingly.
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 2 of 9 PageID 2439




     I.      Applicable Law

             Rule 33(a) provides that, “[u]pon the defendant’s motion, the court may vacate any

     judgment and grant a new trial if the interest of justice so requires.”2 Although motions for

     new trial are disfavored, see United States v. Williams, 146 Fed. Appx. 425, 434 (11th Cir.

     2005), the “interest of justice” standard is broad, and the trial court is vested with substantial

     discretion in determining whether to grant the motion. See United States v. Vicaria, 12

     F.3d 195, 198 (11th Cir. 1994); United States v. Martinez, 763 F.2d 1297, 1312 (11th Cir.

     1985). The court considers “whether the verdict must be set aside ‘in the interest of

     justice.’” United States v. Green, 275 Fed. Appx. 898, 899 (11th Cir. 2008) (internal

     quotations omitted); see also Vicaria, 12 F.3d at 198; Hall, 854 F.2d at 1271 (concluding

     that the trial “court has very broad discretion in deciding whether there has been a

     miscarriage of justice”); Martinez, 763 F.2d at 1312.

             When a defendant challenges the weight of the evidence in a motion for a new

     trial, the court "need not view the evidence in the light most favorable to the verdict" and

     "[i]t may weigh the evidence and consider the credibility of witnesses." Martinez, 763

     F.2d at 1312; see also Green, 275 Fed. Appx. at 900; United States v. McMahon, No.

     8:04-cr-348-T-24TGW, 2007 WL 57778, at *1 (M.D. Fla. Jan. 5, 2007). Yet, "'[t]he court

     may not reweigh the evidence and set aside the verdict simply because it feels some

     other result would be more reasonable.'" Green, 275 Fed. Appx. at 900 (quoting Martinez,

     763 F.2d at 1312-13). Indeed, "[f]or a court to set aside the verdict, '[t]he evidence must

     preponderate heavily against the verdict, such that it would be a miscarriage of justice to


     2
              As the Eleventh Circuit recognized, there are two grounds for granting a new trial under Rule 33:
     “interest of justice” and newly discovered evidence. See United States v. Hall, 854 F.2d 1269, 1270 (11th
     Cir. 1988). In this case, the only ground that could potentially be implicated in the Motion is the “interest of
     justice.” See generally Motion.

                                                          -2-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 3 of 9 PageID 2440




     let the verdict stand.'" Id. (quoting Martinez, 763 F.2d at 1313). Motions for a new trial

     based on the weight of the evidence are to be granted "'sparingly and with caution,' only

     in 'exceptional cases.'" Id. (quoting Martinez, 763 F.2d at 1313).

     II.     Discussion

             In the Motion, Rounsville argues that a new trial is warranted because the

     “evidence [against him] was insufficient to support a finding of guilt.” Motion at 5. In

     challenging the sufficiency of the evidence presented, Rounsville’s Motion presents two

     central and related questions: (1) whether inconsistencies in the testimony of two key

     Government witnesses rendered their testimony incredible; and (2) whether these

     witnesses had a motive to lie – and did in fact do so – as a result of their plea agreements

     with the Government. See id. at 2-4. Additionally, he argues that no witness affirmatively

     testified that he accessed the relevant law enforcement databases for financial gain. See

     id. at 5.

             Turning to the first question, Rounsville attacks the credibility of Alex Rodriguez

     (Rodriguez) and Mollie Bass (Bass), both co-conspirators turned Government witnesses,

     arguing that their testimony contained “so many inconsistencies and vague statements

     that it did not connect the dots between [Rounsville] running the name [of the undercover

     agent] and [Rounsville] acting in excess of his authority or running the name in exchange

     for financial gain or to further a criminal or tortious act.” Id. at 4. In response, the

     Government contends that this argument does nothing more than express a

     disagreement with the jury’s verdict, which was supported by substantial evidence of

     Rounsville’s guilt. See Response at 6. Rounsville takes particular issue with whether the

     Government’s evidence was sufficient to prove that he acted for private financial gain or



                                                 -3-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 4 of 9 PageID 2441




     in furtherance of a criminal act, as he contends that the Government witnesses testified

     inconsistently regarding whether he received payment in exchange for his help. See

     Motion at 2-3. Rounsville also argues that the Government witnesses presented an

     inconsistent timeline regarding the ‘vetting’ of the undercover agent, which suggests that

     the agent was already involved in the underlying criminal enterprise prior to the first and

     only time Rounsville utilized the relevant databases to run the undercover agent’s name.

     See id. at 2. In making these arguments, Rounsville essentially asserts that the testimony

     of Rodriguez and Bass was contradictory with respect to key issues. However, pursuant

     to Eleventh Circuit precedent, for the Court to grant a new trial based on the weight of the

     evidence, “the credibility of the [G]overnment’s witnesses [must have] been impeached

     and the [G]overnment’s case [] marked by uncertainties and discrepancies.”              See

     Martinez, 763 F.2d at 1313. Here, the contradictions cited by Rounsville do not rise to

     this level.

            Rodriguez’ and Bass’ testimony was for the most part consistent and corroborated

     in relevant parts by other evidence including the testimony of two federal agents, an

     employee of the Florida Department of Law Enforcement, and a detective with the

     Jacksonville Sheriff’s Office. Each of these witnesses testified at trial regarding some

     aspect of the overall criminal enterprise or Rounsville’s role in the criminal act alleged in

     the Indictment, and the jury believed their testimony. Notably, the Government presented

     unrebutted evidence that Rounsville ran a Driver and Vehicle Information Database

     (DAVID) search on the name used by the undercover agent, “Chad Cooper,” and the

     Government also presented evidence that Rounsville ran the associated social security

     number that was being used by the undercover agent through a National Crime



                                                  -4-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 5 of 9 PageID 2442




     Information Center (NCIC) search that triggered an alert on “Chad Cooper,” the

     undercover agent’s identity. The Government further presented evidence that Rounsville

     received both an envelope of cash and a motorcycle in return for “favors” offered to

     members of the underlying conspiracy.

            Although a motion for a new trial allows the Court to weigh witness credibility,

     Martinez, 763 F.2d at 1312, Rounsville has failed to demonstrate that the inconsistences

     he identifies, either individually or collectively, preponderate heavily against the verdict

     such that the credibility of these witnesses merits reexamination. Notably, Rounsville also

     testified in his own defense, thereby permitting a reasonable jury and the Court to

     evaluate his credibility. In particular, Rounsville himself testified that he ran a query with

     the name “Chad Cooper” and the corresponding social security number through the law

     enforcement databases on July 28, 2012. While he testified that he would only have done

     so only if “Chad Cooper” was present, a reasonable jury was free to reject this

     explanation, particularly in light of the undercover agent’s testimony that he was in Ohio

     on that date as well as the other evidence presented by the Government. Thus, to the

     extent Rounsville argues that the verdict cannot stand in the face of Rodriguez’ and Bass’

     inconsistent testimony, this argument is unavailing. Although Rounsville does identify

     discrepancies in their testimony, see Motion at 2-3, on review of the record as a whole,

     the Court does not find that the evidence preponderates against the verdict.

            As to the second issue raised in the Motion, the Court considers whether

     Rodriguez, and to a lesser extent, Bass, possessed such a compelling incentive to testify

     against Rounsville “in order to reduce their own sentences” that their testimony as a whole

     cannot be believed. See id. at 4-5. This argument is similarly unpersuasive. With respect



                                                  -5-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 6 of 9 PageID 2443




     to Rodriguez and Bass, the Court recognizes that both individuals had plea agreements

     with the Government and could benefit by testifying against Rounsville. However, the

     Court’s jury instructions (Doc. No. 316; Final Jury Instructions) squarely addressed this

     issue. Specifically, Jury Instruction No. 7 states:

                   You must consider some witnesses’ testimony with more caution than
            others. In this case, the Government has made a plea agreement with
            Codefendants in exchange for their testimony. Such “plea bargaining,” as it
            is called, provides for the possibility of a lesser sentence than the
            Codefendant would normally face. Plea bargaining is lawful and proper, and
            the rules of this court expressly provide for it. But a witness who hopes to
            gain more favorable treatment may have a reason to make a false statement
            in order to strike a good bargain with the Government . . . So while these
            kinds of witnesses may be entirely truthful when testifying, you should
            consider their testimony with more caution than the testimony of other
            witnesses.

     See Final Jury Instructions at 7. Moreover, the record reflects that the Government

     communicated to the jury that both Rodriguez and Bass were cooperating with the

     Government in the investigation and prosecution of others as part of their plea agreements,

     and defense counsel vigorously cross-examined each of them with respect to their plea

     agreements, the benefits they might hope to obtain, and their ultimate motivation for

     testifying. The fact that these witnesses were also accomplices in the underlying criminal

     enterprise is of little import, as a reasonable jury is entitled to believe Government

     witnesses even if they include “an array of scoundrels, liars, and brigands.” See generally

     United States v. Hewitt, 663 F.2d 1381, 1385 (11th Cir. 1981) (citation omitted) (discussed

     in the context of reviewing the denial of a motion for judgment of acquittal).

            Here, the record reflects that the issues of the witnesses' criminal activity, drug

     activity, and capacity for truthfulness were thoroughly examined on both direct and cross-

     examination. Additionally, although the Government witnesses were unable to present a



                                                  -6-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 7 of 9 PageID 2444




     storybook narrative of the events in question, the witnesses did offer similar and consistent

     testimony sufficient to corroborate one another. Indeed, “[t]his was not an instance where

     the [G]overnment’s case was presented by impeached witnesses, while the testimony of

     the [D]efendant’s witnesses was unwaivering [sic] and corroborated by independent

     evidence.” United States v. Stevens, 277 Fed. Appx. 898, 902 (11th Cir. 2008) (per curiam)

     (quoting Martinez, 763 F.2d at 1314) (internal quotation marks omitted). Thus, the Court

     concludes that this evidence also does not preponderate heavily against the verdict such

     that a new trial is warranted.

            Finally, to the extent Rounsville argues that no witness affirmatively testified that he

     accessed the law enforcement databases for financial gain, his argument is unpersuasive.

     As discussed above, the Government presented evidence that Rounsville received both a

     cash payment and a motorcycle from the leader of the underlying criminal enterprise.

     Nevertheless, Rounsville contends that the Government witnesses failed to definitively

     prove that he ever received cash, or any other form of compensation, in exchange for his

     assistance with conducting unauthorized background checks. See Motion at 2-3. Even if

     the testimony at issue does not unequivocally link Rounsville’s receipt of the cash payment

     or the motorcycle to his use of the law enforcement databases, the jury was free to “use

     reasoning and common sense to make deductions and reach conclusions” supported by

     the evidence in reaching a verdict. See Final Jury Instructions at 4. Indeed, the Eleventh

     Circuit has stated that a “jury is free to choose between or among the reasonable

     conclusions to be drawn from the evidence presented. . .” United States v. Broughton, 689

     F.3d 1260, 1277 (11th Cir. 2012) (quoting United States v. Garcia, 447 F.3d 1327, 1334




                                                  -7-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 8 of 9 PageID 2445




     (11th Cir. 2006)) (reviewing the denial of a motion for judgment of acquittal).3 Although the

     Court’s statement in Broughton was made in the context of considering a motion for

     judgment of acquittal under Rule 29 where the court was bound by the jury’s credibility

     decision, it is nonetheless instructive. See United States v. Hernandez, 433 F.3d 1328,

     1336-37 (11th Cir. 2005) (finding that a grant of new trial would have been an abuse of

     discretion where the evidence “produced two conflicting stories, either of which the jury

     could have believed”). While the Court is not bound by the jury’s determination here and

     may weigh the evidence and consider the credibility of the witnesses, it may not “set aside

     the verdict simply because it feels some other result would be more reasonable.” Id. at

     1336 (quoting Martinez, 763 F.2d at 1313-14). In this case, the jury’s determination that

     Rounsville’s receipt of either the cash payment or the motorcycle was in return for his

     running the name of the undercover agent through a law enforcement database is entirely

     reasonable based on the evidence presented.                    Where, as here, the jury’s verdict is

     reasonable and the evidence does not heavily preponderate against it, a new trial is not

     appropriate. See id. at 1336-37. Rounsville’s argument represents nothing more than his

     disagreement with the jury’s verdict, and does not provide a basis for granting a new trial.

     III.    Conclusion

             Having considered the evidence adduced in this case as set forth more fully above,

     the Court cannot conclude that it preponderates heavily against the jury's verdict or that

     this case is one of those "really exceptional cases" where a new trial should be granted



     3
              When Rounsville testified, he denied ever receiving the cash payment and gave an alternative
     explanation as to how he came into possession of the motorcycle. However, given the conflicting evidence,
     the jury was free to accept the testimony and evidence that it found more credible. See id. Here, that was
     not the testimony of Rounsville. In this regard, the Court notes that Rounsville’s own testimony with respect
     to the motorcycle was internally inconsistent and at times inconsistent with that of his witness, George Terrell
     Walker.

                                                          -8-
Case 3:15-cr-00070-MMH-MCR Document 399 Filed 04/12/17 Page 9 of 9 PageID 2446




     based on the weight of the evidence. Martinez, 763 F.2d at 1313. Indeed, viewing the

     evidence as a whole in accordance with Rule 33, the Court readily concludes that the

     jury’s verdict represents a reasonable view of the evidence and that the evidence

     presented was sufficient to support a finding of Rounsville’s guilt. The Court therefore

     finds that Rounsville has failed to show that he is entitled to a new trial, or that the interests

     of justice demand that a new trial be granted.           As such, the Court concludes that

     Rounsville’s Motion is due to be denied. In light of the foregoing, it is

            ORDERED:

            Defendant Rounsville’s Motion for New Trial (Doc. No. 335) is DENIED.

            DONE AND ORDERED at Jacksonville, Florida on April 12, 2017.




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     Copies to:

     Counsel of Record




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